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 5
                                UNITED STATES DISTRICT COURT
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 7
                             SOUTHERN DISTRICT OF CALIFORNIA

 8                                   (Hon. Cathy Ann Bencivengo)
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10
     UNITED STATES OF AMERICA,        )         Case No. 19cr1388-CAB
11                                    )
           Plaintiff,                 )         ORDER GRANTING EXTENSION OF
12
                                      )         DEFENDANT’S SELF-SURRENDER DATE
13                    v.              )         AND CONTINUANCE OF BOND
                                      )         EXONERATION HEARING
14   RAFAEL VARGAS CANO (5)           )
                                      )
15
           Defendant.                 )
16   ________________________________ )

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              Good cause appearing, IT IS HEREBY ORDERED that Defendant Rafael Vargas Cano
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     surrender to the facility designated by the Bureau of Prisons on December 11, 2020, no later than
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     12:00 P.M.
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              IT IS FURTHER ORDERED that the bond exoneration hearing for defendant is
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     continued from November 13, 2020 to December 18, 2020 at 9:00 A.M.
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              IT IS SO ORDERED.
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     Dated:    11/13/2020                            ________________________________
25                                                   HON. CATHY ANN BENCIVENGO
26                                                   United States District Judge

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